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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MARK R. CUKER, et al.                                 :       CIVIL ACTION
                                                      :
       v.                                             :       NO. 18-2356
                                                      :
ESTHER E. BEREZOFSKY, et al                           :


                             JOINT REPORT REGARDING
                              STATUS OF ARBITRATION

       The parties are meeting in person with the arbitration panel on Monday, October 1, 2018

to discuss requests for information/discovery and scheduling and will report to the Court further

regarding the progress of the matter after the panel rules on the procedural issues before it..



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